             Case 3:13-cr-00064-JGZ         Document 15       Filed 02/13/13     Page 1 of 2

I'      f




                                                                \~~
                                                          FILEDMFEB "13 0'3:35USDC{lRP
                             IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF OREGON

                                           PORTLAND DIVISION

     UNITED STATES OF AMERICA,                )
                                              )                        Case No. CR 13- 00()0 4       - Hz_
                           Plaintiff,         )
                                              )                                  INDICTMENT
                    v.                        )
                                              )                    [18 U.S.C. §§ 875(b), 2261(b)(5), &
     CYRUS ANDREW SULLIVAN,                   )                                          2261A(2)(A)]
                                              )
                           Defendant.         )

                                    THE GRAND JURY CHARGES:

                                   COUNTl
             [MAKING AN EXTORTIONATE THREATENING COMMUNICATION]

            On or about June 4, 2012, in the District of Oregon, with intent to extort money from

     another person, defendant Cyrus Andrew Sullivan knowingly transmitted in interstate or foreign

     commerce a communication containing a threat to injure the person of another; to wit, with the

     intent to extort $10,000.00 in money from another person, A.K., defendant Cyrus Andrew Sullivan

     transmitted an email communication via the Internet containing a threat to injure A.K. if defendant

     Cyrus Andrew Sullivan was not paid $10,000.00, which a reasonable person would take as a

     serious expression of an intention to inflict bodily harm upon A.K. if $10,000.00 was not paid to

     defendant Cyrus Andrew Sullivan. All the aforementioned conduct was in violation of Title 18,

     United States Code, Section 875(b).
        Case 3:13-cr-00064-JGZ           Document 15        Filed 02/13/13      Page 2 of 2



                                           COUNT2
                                     [INTERNET STALKING]

        On or between August 11, 2009 and June 7, 2012, in the District of Oregon, with the intent

to cause substantial emotional distress to a person in another State, defendant Cyrus Andrew

Sullivan used an interactive computer service or a facility of interstate or foreign commerce to

engage in a course of conduct that caused substantial emotional distress to that person in another

State; to wit, with the intent to cause substantial emotional distress to persons in other States for the

purpose of extorting money from them, defendant Cyrus Andrew Sullivan caused and facilitated

the posting of malicious and defamatory information on the Internet about those persons, causing

substantial emotional distress to them. All the aforementioned conduct was in violation of Title

18, United States Code, Sections 2261A(2)(A) and 2261(b)(5).

        Dated this   B      day of February, 2013.




Presented by:

S. AMANDA MARSHALL
United States Attorney




2 - INDICTMENT
